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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------                     x
                                                        :   ECF CASE
 MARCOS CALCANO, ON BEHALF OF
                                                        :
 HIMSELF AND ALL OTHER PERSONS
                                                        :
 SIMILARLY SITUATED,
                                                        :   No.: 1:21-cv-9401
                                                        :
                                   Plaintiffs,
                                                        :   CLASS ACTION COMPLAINT
                                                        :
                              v.
                                                        :   JURY TRIAL DEMANDED
                                                        :
 TIMOTHY OULTON RETAIL USA
                                                        :
 CORPORATION,
                                                        :
                                                        :
              Defendant.
 ---------------------------------- x
                         INTRODUCTION

       1.      Plaintiff, MARCOS CALCANO, on behalf of himself and all other persons

similarly situated, asserts the following claims against Defendant, TIMOTHY OULTON

RETAIL USA CORPORATION, as follows.

       2.      Plaintiff is a visually-impaired and legally blind person who requires

screen-reading software to read website content using his computer. Plaintiff uses the terms

“blind” or “visually-impaired” to refer to all people with visual impairments who meet the

legal definition of blindness in that they have a visual acuity with correction of less than or

equal to 20 x 200. Some blind people who meet this definition have limited vision. Others

have no vision.

       3.      In a September 25, 2018 letter to U.S. House of Representative Ted Budd,

U.S. Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that

public accommodations must make the websites they own, operate, or control equally

accessible to individuals with disabilities. Assistant Attorney General Boyd’s letter

provides:


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       The Department [of Justice] first articulated its interpretation that
       the ADA applies to public accommodations’ websites over 20 years
       ago. This interpretation is consistent with the ADA’s title III
       requirement that the goods, services, privileges, or activities
       provided by places of public accommodation be equally accessible
       to people with disabilities. 1

       4.      Based on a 2010 U.S. Census Bureau report, approximately 8.1 million

people in the United States are visually impaired, including 2.0 million who are blind, and

according to the American Foundation for the Blind’s 2015 report, approximately 400,000

visually impaired persons live in the State of New York.

       5.      Plaintiff brings this civil rights action against TIMOTHY OULTON

RETAIL USA CORPORATION, (“Defendant” or “Oulton”) for its failure to design,

construct, maintain, and operate its website to be fully accessible to and independently

usable by Plaintiff and other blind or visually-impaired people. Defendant’s denial of full

and equal access to its website, and therefore denial of its products and services offered

thereby and in conjunction with its physical location, is a violation of Plaintiff’s rights

under the Americans with Disabilities Act (“ADA”).

       6.      Because Defendant’s website, www.timothyoulton.com , (the “Website” or

“Defendant’s website”), is not equally accessible to blind and visually-impaired

consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause a change

in Defendant’s corporate policies, practices, and procedures so that Defendant’s website

will become and remain accessible to blind and visually-impaired consumers.


1 See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of
Justice, to Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018)
(available at
https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf)
(last accessed July 13, 2020).

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        7.       By failing to make its Website available in a manner compatible with

computer screen reader programs, Defendant deprives blind and visually-impaired

individuals the benefits of its online goods, content, and services—all benefits it affords

nondisabled individuals—thereby increasing the sense of isolation and stigma among those

persons that Title III was meant to redress.

        8.       This discrimination is particularly acute during the current COVID-19

global pandemic. According to the Centers for Disease Control and Prevention (“CDC”),

Americans living with disabilities are at higher risk for severe illness from COVID-19 and,

therefore, are recommended to shelter in place throughout the duration of the pandemic. 2

This underscores the importance of access to online retailers, such as Defendant, for this

especially vulnerable population.

                                  JURISDICTION AND VENUE

        9.       This Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

        10.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff’s New York State Human Rights Law, N.Y. Exec. Law Article 15, (“NYSHRL”)

and New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

(“NYCHRL”) claims.




2 See Centers for Disease Control and Prevention website, Coronavirus Disease 2019 (2019), available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-
risk.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fspecific-
groups%2Fhigh-risk-complications.html (last accessed July 13, 2020) (“Based on currently available
information and clinical expertise, older adults and people of any age who have serious underlying medical
conditions might be at higher risk for severe illness from COVID-19.”).


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        11.     Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

Plaintiff resides in this district, Defendant conducts and continues to conduct a substantial

and significant amount of business in this District, Defendant is subject to personal

jurisdiction in this District, and a substantial portion of the conduct complained of herein

occurred in this District.

        12.     Defendant is subject to personal jurisdiction in this District. Defendant has

been and is committing the acts or omissions alleged herein in the Southern District of New

York that caused injury, and violated rights the ADA prescribes to Plaintiff and to other

blind and other visually impaired-consumers. A substantial part of the acts and omissions

giving rise to Plaintiff’s claims occurred in this District: on separate occasions, Plaintiff

has been denied the full use and enjoyment of the facilities, goods, and services of

Defendant’s Website from his home in Bronx County. These access barriers that Plaintiff

encountered have caused a denial of Plaintiff’s full and equal access multiple times in the

past, and now deter Plaintiff on a regular basis from visiting Defendant’s brick-and mortar

retail store location. This includes, Plaintiff attempting to obtain information about

Defendant’s retail stores (locations and hours) from his home in Bronx County.

        13.     Defendant participates in New York’s economic life by clearly performing

business over the Internet. Through its Website, Defendant entered into contracts for the

sale of its products and services with residents of New York. These online sales contracts

involve, and require, Defendant’s knowing and repeated transmission of computer files

over the Internet. See Reed v. 1-800-Flowers.com, Inc., 327 F. Supp. 3d 539 (E.D.N.Y.

2018) (exercising personal jurisdiction over forum plaintiff’s website accessibility claims

against out-of-forum website operator); Andrews v. Blick Art Materials, LLC, 286 F. Supp.



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3d 365 (E.D.N.Y. 2017); see also, Ford Motor Co. v. Mont. Eighth Judicial Dist. Court,

592 U. S. ____ (2021) (personal jurisdiction can be found as long as the company

conducted business in the consumer’s home state that relates in some way to the

consumer’s injuries, such as engaging in other transactions for similar products there.) see

also, South Dakota v. Wayfair, Inc., 585 U. S. ____ (2018); see also, Godfried v. Ford

Motor Co., 2021 US Dist LEXIS 87012 [D Me May 6, 2021, No. 1:19-cv-00372-NT].

       14.     This Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.

                                      THE PARTIES

       15.     Plaintiff, MARCOS CALCANO, at all relevant times, is a resident of Bronx

County, New York. Plaintiff is a blind, visually-impaired handicapped person and a

member of member of a protected class of individuals under the ADA, under 42 U.S.C. §

12102(1)-(2), and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et

seq., the NYSHRL and NYCHRL.

       16.     Defendant, TIMOTHY OULTON RETAIL USA CORPORATION, is and

was, at all relevant times herein, a Delaware Corporation with its Principal place of

business located at 1209 Orange Street, Wilmington, Delaware. Defendant operates the

Oulton’s retail store as well as the Oulton’s website and advertises, markets, distributes,

and/or sells furniture, home furnishing supplies and other products at its location in the

State of New York. Defendant is, upon information and belief, licensed to do business and

is doing business in the State of New York.

       17.     Defendant, TIMOTHY OULTON RETAIL USA CORPORATION,

operates the Oulton’s retail store located at 901 Broadway, New York, New York. This



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retail store constitutes a place of public accommodation. Defendant’s retail store provides

to the public important goods and services. Defendant’s Website provides consumers with

access to an array of products and services including retail store locations and hours, find

information about its furniture and home furnishings, product care, pricing of products and

other important goods and services.

       18.       Defendant’s retail store is a place of public accommodation within the

definition of Title III of the ADA, 42 U.S.C. § 12181(7). Defendant’s Website is a service,

privilege, or advantage of Defendant’s retail store.

                                   NATURE OF ACTION

       19.       The Internet has become a significant source of information, a portal, and a

tool for conducting business, doing everyday activities such as shopping, learning, banking,

researching, as well as many other activities for sighted, blind and visually-impaired

persons alike.

       20.       In today’s tech-savvy world, blind and visually-impaired people have the

ability to access websites using keyboards in conjunction with screen access software that

vocalizes the visual information found on a computer screen or displays the content on a

refreshable Braille display. This technology is known as screen-reading software. Screen-

reading software is currently the only method a blind or visually-impaired person may

independently access the internet. Unless websites are designed to be read by screen-

reading software, blind and visually-impaired persons are unable to fully access websites,

and the information, products, and services contained thereon.

       21.       Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen reading software programs available to them.



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Some of these programs are available for purchase and other programs are available

without the user having to purchase the program separately. Job Access With Speech,

otherwise known as “JAWS” is currently the most popular, separately purchased and

downloaded screen-reading software program available for a Windows computer.

       22.     For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually-impaired user is unable to access the same content

available to sighted users.

       23.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web

Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established

guidelines for making websites accessible to blind and visually-impaired people. These

guidelines are universally followed by most large business entities and government

agencies to ensure their websites are accessible.

       24.     Non-compliant websites pose common access barriers to blind and visually-

impaired persons. Common barriers encountered by blind and visually impaired persons

include, but are not limited to, the following:

               a.      A text equivalent for every non-text element is not provided;

               b.      Title frames with text are not provided for identification and

navigation;

               c.      Equivalent text is not provided when using scripts;

               d.      Forms with the same information and functionality as for sighted

persons are not provided;



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                e.      Information about the meaning and structure of content is not

conveyed by more than the visual presentation of content;

                f.      Text cannot be resized without assistive technology up to 200%

without losing content or functionality;

                g.      If the content enforces a time limit, the user is not able to extend,

adjust or disable it;

                h.      Web pages do not have titles that describe the topic or purpose;

                i.      The purpose of each link cannot be determined from the link text

alone or from the link text and its programmatically determined link context;

                j.      One or more keyboard operable user interface lacks a mode of

operation where the keyboard focus indicator is discernible;

                k.      The default human language of each web page cannot be

programmatically determined;

                l.      When a component receives focus, it may initiate a change in

context;

                m.      Changing the setting of a user interface component may

automatically cause a change of context where the user has not been advised before using

the component;

                n.      Labels or instructions are not provided when content requires user

input, which include captcha prompts that require the user to verify that he or she is not a

robot;

                o.      In content which is implemented by using markup languages,

elements do not have complete start and end tags, elements are not nested according to



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their specifications, elements may contain duplicate attributes and/or any IDs are not

unique;

                 p.     Inaccessible Portable Document Format (PDFs); and,

                 q.     The name and role of all User Interface elements cannot be

programmatically determined; items that can be set by the user cannot be programmatically

set; and/or notification of changes to these items is not available to user agents, including

assistive technology.

                                 STATEMENT OF FACTS

                             Defendant’s Barriers on Its Website

25.       Defendant offers the commercial website, www.timothyoulton.com , to the

public. The website offers features which should allow all consumers to access the goods

and services which Defendant.s website offers in connection with their physical location.

The goods and services offered by Defendant include, but are not limited to the

following, which allow consumers to: find retail store locations and hours, information

about furniture and home furnishings, product care, pricing of products and other

important goods and services.

          26.    It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff, along with other blind or visually-impaired users, access to Defendant’s website,

and to therefore specifically deny the goods and services that are offered and integrated

with Defendant’s retail stores. Due to Defendant’s failure and refusal to remove access

barriers to its website, Plaintiff and visually-impaired persons have been and are still being

denied equal access to Defendant’s retail store and the numerous goods, services, and

benefits offered to the public through the Website.



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       27.     Plaintiff is a visually-impaired and legally blind person, who cannot use a

computer without the assistance of screen-reading software. Plaintiff is, however, a

proficient JAWS screen-reader user and uses it to access the Internet. Plaintiff has visited

the Website on separate occasions using the JAWS screen-reader.

       28.     During Plaintiff’s visits to the Website, the last occurring in November,

2021, Plaintiff encountered multiple access barriers that denied Plaintiff full and equal

access to the facilities, goods and services offered to the public and made available to the

public; and that denied Plaintiff the full enjoyment of the facilities, goods, and services of

the Website, as well as to the facilities, goods, and services of Defendant’s physical

location in New York by being unable to learn more information about the retail stores

locations and hours, find information about furniture and home furnishings, product care,

pricing of products, online ordering and other important goods and services.

       29.     The Plaintiff intends to immediately revisit the Website to purchase a

product from the Defendant as soon as the access barriers are removed from the Website.

       30.     While attempting to navigate the Website, Plaintiff encountered multiple

accessibility barriers for blind or visually-impaired people that include, but are not limited

to, the following:

               a.      Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text is

an invisible code embedded beneath a graphical image on a website. Web accessibility

requires that alt-text be coded with each picture so that screen-reading software can speak

the alt-text where a sighted user sees pictures, which includes captcha prompts. Alt-text

does not change the visual presentation, but instead a text box shows when the mouse

moves over the picture. The lack of alt-text on these graphics prevents screen readers from



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accurately vocalizing a description of the graphics. As a result, Defendant’s visually-

impaired customers are unable to determine what is on the website, browse, look for retail

stores locations and hours, information about furniture, home furnishings, product care,

pricing of products sand other important goods and services;

               b.       Empty Links That Contain No Text causing the function or purpose

of the link to not be presented to the user. This can introduce confusion for keyboard and

screen-reader users;

               c.       Redundant Links where adjacent links go to the same URL address

which results in additional navigation and repetition for keyboard and screen-reader users;

and

               d.       Linked Images Missing Alt-text, which causes problems if an image

within a link contains no text and that image does not provide alt-text. A screen reader then

has no content to present the user as to the function of the link, including information

contained in PDFs.

                       Defendant Must Remove Barriers To Its Website

       31.     Due to the inaccessibility of Defendant’s Website, blind and visually-

impaired customers such as Plaintiff, who need screen-readers, cannot fully and equally

use or enjoy the facilities, goods, and services Defendants offers to the public on its

Website. The access barriers Plaintiff encountered have caused a denial of Plaintiff’s full

and equal access in the past, and now deter Plaintiff on a regular basis from accessing the

Website.

       32.     These access barriers on Defendant’s Website have deterred Plaintiff from

visiting Defendant’s physical retail store location, and enjoying it equal to sighted



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individuals because: Plaintiff was unable to find the location and hours of operation of

Defendant’s physical retail store on its Website, preventing Plaintiff from visiting the

location to purchase items, and to view the items.

        33.       If the Website was equally accessible to all, Plaintiff could independently

navigate the Website and complete a desired transaction as sighted individuals do.

        34.       Through his attempts to use the Website, Plaintiff has actual knowledge of

the access barriers that make these services inaccessible and independently unusable by

blind and visually-impaired people.

        35.       Because simple compliance with the WCAG 2.0 Guidelines would provide

Plaintiff and other visually-impaired consumers with equal access to the Website, Plaintiff

alleges that Defendant has engaged in acts of intentional discrimination, including but not

limited to the following policies or practices:

                  a.     Constructing and maintaining a website that is inaccessible to

visually-impaired individuals, including Plaintiff;

                  b.     Failure to construct and maintain a website that is sufficiently

intuitive so as to be equally accessible to visually-impaired individuals, including Plaintiff;

and,

                  c.     Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually-impaired consumers, such as

Plaintiff, as a member of a protected class.

        36.       Defendant therefore uses standards, criteria or methods of administration

that have the effect of discriminating or perpetuating the discrimination of others, as

alleged herein.



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        37.       The ADA expressly contemplates the injunctive relief that Plaintiff seeks in

this action. In relevant part, the ADA requires:

In the case of violations of . . . this title, injunctive relief shall include an order to alter
facilities to make such facilities readily accessible to and usable by individuals with
disabilities . . . Where appropriate, injunctive relief shall also include requiring the . . .
modification of a policy . . .

42 U.S.C. § 12188(a)(2).

        38.       Because Defendant’s Website has never been equally accessible, and

because Defendant lacks a corporate policy that is reasonably calculated to cause its

Website to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and

seeks a permanent injunction requiring Defendant to retain a qualified consultant

acceptable to Plaintiff (“Agreed Upon Consultant”) to assist Defendant to comply with

WCAG 2.0 guidelines for Defendant’s Website. Plaintiff seeks that this permanent

injunction requiring Defendant to cooperate with the Agreed Upon Consultant to:

                  a.     Train Defendant’s employees and agents who develop the Website

on accessibility compliance under the WCAG 2.0 guidelines;

                  b.     Regularly check the accessibility of the Website under the WCAG

2.0 guidelines;

                  c.     Regularly test user accessibility by blind or vision-impaired persons

to ensure that Defendant’s Website complies under the WCAG 2.0 guidelines; and,

                  d.     Develop an accessibility policy that is clearly disclosed on

Defendant’s Websites, with contact information for users to report accessibility-related

problems.

        39.       If the Website was accessible, Plaintiff and similarly situated blind and

visually-impaired people could independently view service items, locate Defendant’s retail

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store location and hours of operation, research related products and services available via

the Website.

       40.     Although Defendant may currently have centralized policies regarding

maintaining and operating its Website, Defendant lacks a plan and policy reasonably

calculated to make them fully and equally accessible to, and independently usable by, blind

and other visually-impaired consumers.

       41.     Defendant has, upon information and belief, invested substantial sums in

developing and maintaining their Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making their Website

equally accessible to visually impaired customers.

       42.     Without injunctive relief, Plaintiff and other visually-impaired consumers

will continue to be unable to independently use the Website, violating their rights.

                           CLASS ACTION ALLEGATIONS

       43.     Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

individuals in the United States who have attempted to access Defendants' Website and as

a result have been denied access to the equal enjoyment of goods and services offered in

Defendant’s' physical location, during the relevant statutory period.

       44.     Plaintiff, on behalf of himself and all others similarly situated, seeks certify

a New York subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals

in the State of New York who have attempted to access Defendant’s Website and as a result

have been denied access to the equal enjoyment of goods and services offered in

Defendant’s physical location, during the relevant statutory period.



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       45.     Common questions of law and fact exist amongst Class, including:

               a.      Whether Defendant’s Website is a “public accommodation” under

the ADA;

               b.      Whether Defendant’s Website is a “place or provider of public

accommodation” under the NYSHRL or NYCHRL;

               c.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to people with

visual disabilities, violating the ADA; and

               d.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to people with

visual disabilities, violating the NYSHRL or NYCHRL.

       46.     Plaintiff’s claims are typical of the Class. The Class, similarly to the

Plaintiff, are severely visually impaired or otherwise blind, and claim that Defendant has

violated the ADA, NYSHRL or NYCHRL by failing to update or remove access barriers

on its Website so either can be independently accessible to the Class.

       47.     Plaintiff will fairly and adequately represent and protect the interests of the

Class Members because Plaintiff has retained and is represented by counsel competent and

experienced in complex class action litigation, and because Plaintiff has no interests

antagonistic to the Class Members. Class certification of the claims is appropriate under

Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally

applicable to the Class, making appropriate both declaratory and injunctive relief with

respect to Plaintiff and the Class as a whole.




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       48.     Alternatively, class certification is appropriate under Fed. R. Civ. P.

23(b)(3) because fact and legal questions common to Class Members predominate over

questions affecting only individual Class Members, and because a class action is superior

to other available methods for the fair and efficient adjudication of this litigation.

       49.     Judicial economy will be served by maintaining this lawsuit as a class action

in that it is likely to avoid the burden that would be otherwise placed upon the judicial

system by the filing of numerous similar suits by people with visual disabilities throughout

the United States.

                          FIRST CAUSE OF ACTION
                 VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

       50.      Plaintiff, on behalf of himself and the Class Members, repeats and realleges

every allegation of the preceding paragraphs as if fully set forth herein.

       51.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

No individual shall be discriminated against on the basis of disability in the full and equal
enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
any place of public accommodation by any person who owns, leases (or leases to), or
operates a place of public accommodation.

42 U.S.C. § 12182(a).


       52.     Defendant’s retail stores are a place of public accommodation within the

definition of Title III of the ADA, 42 U.S.C. § 12181(7). Defendant’s Website is a service,

privilege, or advantage of Defendant’s retail stores. The Website is a service that is

integrated with these locations.

       53.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities the opportunity to participate in or




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benefit from the goods, services, facilities, privileges, advantages, or accommodations of

an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

       54.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities an opportunity to participate in or

benefit from the goods, services, facilities, privileges, advantages, or accommodation,

which is equal to the opportunities afforded to other individuals. 42 U.S.C. §

12182(b)(1)(A)(ii).

       55.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination

also includes, among other things:

[A] failure to make reasonable modifications in policies, practices, or procedures, when
such modifications are necessary to afford such goods, services, facilities, privileges,
advantages, or accommodations to individuals with disabilities, unless the entity can
demonstrate that making such modifications would fundamentally alter the nature of such
goods, services, facilities, privileges, advantages or accommodations; and a failure to take
such steps as may be necessary to ensure that no individual with a disability is excluded,
denied services, segregated or otherwise treated differently than other individuals because
of the absence of auxiliary aids and services, unless the entity can demonstrate that taking
such steps would fundamentally alter the nature of the good, service, facility, privilege,
advantage, or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

       56.     The acts alleged herein constitute violations of Title III of the ADA, and the

regulations promulgated thereunder. Plaintiff, who is a member of a protected class of

persons under the ADA, has a physical disability that substantially limits the major life

activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore,

Plaintiff has been denied full and equal access to the Website, has not been provided

services that are provided to other patrons who are not disabled, and has been provided

services that are inferior to the services provided to non-disabled persons. Defendant has




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failed to take any prompt and equitable steps to remedy its discriminatory conduct. These

violations are ongoing.

          57.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

and incorporated therein, Plaintiff, requests relief as set forth below.

                              SECOND CAUSE OF ACTION
                             VIOLATIONS OF THE NYSHRL

          58.   Plaintiff, on behalf of himself and the New York Sub-Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

          59.   N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent

or employee of any place of public accommodation . . . because of the . . . disability of any

person, directly or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof.”

          60.   Defendant’s physical locations are located in the State of New York and

throughout the United States and constitute a retail store and place of public

accommodations within the definition of N.Y. Exec. Law § 292(9). Defendant’s Website

is a service, privilege or advantage of Defendant. Defendant’s Website is a service that is

by and integrated with these physical locations.

          61.   Defendant is subject to New York Human Rights Law because they own

and operate its physical locations and Website. Defendants are a person within the meaning

of N.Y. Exec. Law § 292(1).

          62.   Defendants are violating N.Y. Exec. Law § 296(2)(a) in refusing to update

or remove access barriers to its Website, causing its Website and the services integrated

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with Defendant’s physical locations to be completely inaccessible to the blind. This

inaccessibility denies blind patrons full and equal access to the facilities, goods and

services that Defendant makes available to the non-disabled public.

       63.     Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies,

practices, or procedures, when such modifications are necessary to afford facilities,

privileges, advantages or accommodations to individuals with disabilities, unless such

person can demonstrate that making such modifications would fundamentally alter the

nature of such facilities, privileges, advantages or accommodations being offered or would

result in an undue burden.”

       64.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice

also includes, “a refusal to take such steps as may be necessary to ensure that no individual

with a disability is excluded or denied services because of the absence of auxiliary aids and

services, unless such person can demonstrate that taking such steps would fundamentally

alter the nature of the facility, privilege, advantage or accommodation being offered or

would result in an undue burden.”

       65.     Readily available, well-established guidelines exist on the Internet for

making websites accessible to the blind and visually impaired. These guidelines have been

followed by other large business entities and government agencies in making their website

accessible, including but not limited to: adding alt-text to graphics and ensuring that all

functions can be performed using a keyboard. Incorporating the basic components to make

its Website accessible would neither fundamentally alter the nature of Defendant’s business

nor result in an undue burden to Defendant.



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       66.        Defendant’s actions constitute willful intentional discrimination against the

class on the basis of a disability in violation of the NYSHRL, N.Y. Exec. Law § 296(2) in

that Defendant has:

                  a.     constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

                  b.     constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

                  c.     failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       67.        Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

       68.        Defendant discriminates and will continue in the future to discriminate

against Plaintiff and New York Sub-Class Members on the basis of disability in the full

and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Defendant’s Website and its physical location

under § 296(2) et seq. and/or its implementing regulations. Unless the Court enjoins

Defendant from continuing to engage in these unlawful practices, Plaintiff and the Sub-

Class Members will continue to suffer irreparable harm.

       69.        Defendant’s actions were and are in violation of New York State Human

Rights Law and therefore Plaintiff invokes his right to injunctive relief to remedy the

discrimination.

       70.        Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines under N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.



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          71.   Plaintiff is also entitled to reasonable attorneys’ fees and costs.

          72.   Under N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

forth and incorporated therein Plaintiff prays for judgment as set forth below.

                               THIRD CAUSE OF ACTION
                             VIOLATIONS OF THE NYCHRL

          73.   Plaintiff, on behalf of himself and the New York Sub-Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

          74.   N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an

unlawful discriminatory practice for any person, being the owner, lessee, proprietor,

manager, superintendent, agent or employee of any place or provider of public

accommodation, because of . . . disability . . . directly or indirectly, to refuse, withhold

from or deny to such person, any of the accommodations, advantages, facilities or

privileges thereof.”

          75.   Defendant’s location is a retail store and a place of public accommodation

within the definition of N.Y.C. Admin. Code § 8-102(9), and its Website is a service that

is integrated with its establishment.

          76.   Defendant is subject to NYCHRL because it owns and operates its physical

location in the City of New York and its Website, making it a person within the meaning

of N.Y.C. Admin. Code § 8-102(1).

          77.   Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in

refusing to update or remove access barriers to Website, causing its Website and the

services integrated with its physical location to be completely inaccessible to the blind.




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This inaccessibility denies blind patrons full and equal access to the facilities, goods, and

services that Defendant makes available to the non-disabled public.

       78.     Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

from discriminating on the basis of disability shall make reasonable accommodation to

enable a person with a disability to . . . enjoy the right or rights in question provided that

the disability is known or should have been known by the covered entity.” N.Y.C. Admin.

Code § 8-107(15)(a).

       79.     Defendant’s actions constitute willful intentional discrimination against the

Sub-Class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-

107(4)(a) and § 8-107(15)(a) in that Defendant has:

               a.      constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

               b.      constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       80.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

       81.     As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis

of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, accommodations and/or opportunities of its Website and its establishments



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under § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins

Defendant from continuing to engage in these unlawful practices, Plaintiff and members

of the class will continue to suffer irreparable harm.

       82.      Defendant’s actions were and are in violation of the NYCHRL and therefore

Plaintiff invokes his right to injunctive relief to remedy the discrimination.

       83.      Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense.

       84.      Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       85.      Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as set

forth below.

                              FOURTH CAUSE OF ACTION
                                DECLARATORY RELIEF

       86.      Plaintiff, on behalf of himself and the Class and New York Sub-Class

Members, repeats and realleges every allegation of the preceding paragraphs as if fully set

forth herein.

       87.      An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that its Website

contains access barriers denying blind customers the full and equal access to the goods,

services and facilities of its Website and by extension its physical location, which

Defendant owns, operates and controls, fails to comply with applicable laws including, but

not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

N.Y. Exec. Law § 296, et seq., and N.Y.C. Admin. Code § 8-107, et seq. prohibiting

discrimination against the blind.

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       88.     A judicial declaration is necessary and appropriate at this time in order that

each of the parties may know their respective rights and duties and act accordingly.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

               a.      A preliminary and permanent injunction to prohibit Defendant from

violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law

§ 296, et seq., N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

               b.      A preliminary and permanent injunction requiring Defendant to take

all the steps necessary to make its Website into full compliance with the requirements set

forth in the ADA, and its implementing regulations, so that the Website is readily

accessible to and usable by blind individuals;

               c.      A declaration that Defendant owns, maintains and/or operates its

Website in a manner that discriminates against the blind and which fails to provide access

for persons with disabilities as required by Americans with Disabilities Act, 42 U.S.C. §§

12182, et seq., N.Y. Exec. Law § 296, et seq., N.Y.C. Administrative Code § 8-107, et seq.,

and the laws of New York

               d.      An order certifying the Class and Sub-Class under Fed. R. Civ. P.

23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys

as Class Counsel;

               e.      Compensatory damages in an amount to be determined by proof,

including all applicable statutory damages and fines, to Plaintiff and the proposed class for

violations of their civil rights under New York State Human Rights Law and City Law;

               f.      Pre- and post-judgment interest;



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               g.      An award of costs and expenses of this action together with

reasonable attorneys’ and expert fees; and

               h.      Such other and further relief as this Court deems just and proper.

                            DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

of fact the Complaint raises.

Dated: New York, New York
       November 14, 2021
                                                          GOTTLIEB & ASSOCIATES

                                                                  /s/Dana L. Gottlieb, Esq.

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